                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

AARON JONES                                 :      CIVIL ACTION
                                            :
       v.                                   :
                                            :
COMMISSIONER MARTIN HORN,                   :
Pennsylvania Department of                  :
Corrections, SUPERINTENDENT                 :
DONALD T. VAUGHN, of the State              :
Correctional Institution at Graterford,     :
And SUPERINTENDENT JOSEPH P.                :
MAZURKIEWICZ of the State                   :
Correctional Institution at Rockview        :      NO. 96-7544


                                          ORDER


       NOW, this 9th day of November, 2023, it is ORDERED as follows:

       1.     The Clerk shall TRANSFER this case from the Civil Suspense Docket to

the Active Docket.

       2.     This action is STAYED pending state court action upon petitioner’s

application for post-conviction relief.
